         Case 2:19-cv-01976-SGC Document 6 Filed 01/21/20 Page 1 of 2                         FILED
                                                                                     2020 Jan-21 AM 10:04
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA




                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                         BIRMINGHAM DIVISION

CRYSTAL PETTWAY                 )
                                )
           Plaintiff(s),        ) CASE NO. 2:19-CV-01976-SGC
                                )
v.                              )
                                )
ADVANCED CAPITAL SOLUTIONS, and )
DOES 1-1-, inclusive,           )
                                )
           Defendants.          )

      DISCLOSURE STATEMENT PURSUANT TO LOCAL RULE 3.4

      Pursuant to Local Rule 3.4 of the Northern District of Alabama and to

enable District Judges and Magistrate Judges to evaluate possible disqualification

or recusal, the undersigned counsel for Advanced Capital Solutions in the above-

captioned action certifies that the general nature and purpose of the foregoing

entity or entities is the collection of consumer receivables.

      Counsel also certifies that there are no parents, subsidiaries and/or affiliates

of said party or parties that have issued shares or debt securities to the public.




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DATED: January 21, 2020

                                     CLOUD WILLIS & ELLIS LLC

                                     By: /s/ William A. Ellis
                                     William A. Ellis (ASB-8034-I61E)
                                     Attorney for Defendant
                                     Advanced Capital Solutions, Inc
OF COUNSEL:
Cloud Willis & Ellis, LLC
3928 Montclair Road, Suite 227
Birmingham, AL 35213
(205) 322-6060


                         CERTIFICATE OF SERVICE

The undersigned certifies that a true and correct copy of the foregoing motion was
served upon the following via PACER and/or by mailing same by United States
First Class Mail in a properly addressed envelope with adequate postage affixed
thereon to insure delivery



DATED:      January 21, 2020


                                            /s/ William A. Ellis
                                            William A. Ellis
                                            Attorney for Defendant
                                            Advanced Capital Solutions, Inc

OF COUNSEL:
Cloud Willis & Ellis, LLC
3928 Montclair Road, Suite 227
Birmingham, AL 35213
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